        Case: 1:18-cv-07263 Document #: 10 Filed: 04/26/19 Page 1 of 17 PageID #:39


    FIL ED                 LS
      6/2019
      4/2
             . BRUTO    N
   THOMA.SDG
           IS T R IC T COURT
CLERK, U.S
Case: 1:18-cv-07263 Document #: 10 Filed: 04/26/19 Page 2 of 17 PageID #:40
Case: 1:18-cv-07263 Document #: 10 Filed: 04/26/19 Page 3 of 17 PageID #:41
Case: 1:18-cv-07263 Document #: 10 Filed: 04/26/19 Page 4 of 17 PageID #:42
Case: 1:18-cv-07263 Document #: 10 Filed: 04/26/19 Page 5 of 17 PageID #:43
Case: 1:18-cv-07263 Document #: 10 Filed: 04/26/19 Page 6 of 17 PageID #:44
Case: 1:18-cv-07263 Document #: 10 Filed: 04/26/19 Page 7 of 17 PageID #:45
Case: 1:18-cv-07263 Document #: 10 Filed: 04/26/19 Page 8 of 17 PageID #:46
Case: 1:18-cv-07263 Document #: 10 Filed: 04/26/19 Page 9 of 17 PageID #:47
Case: 1:18-cv-07263 Document #: 10 Filed: 04/26/19 Page 10 of 17 PageID #:48
Case: 1:18-cv-07263 Document #: 10 Filed: 04/26/19 Page 11 of 17 PageID #:49
Case: 1:18-cv-07263 Document #: 10 Filed: 04/26/19 Page 12 of 17 PageID #:50
Case: 1:18-cv-07263 Document #: 10 Filed: 04/26/19 Page 13 of 17 PageID #:51
Case: 1:18-cv-07263 Document #: 10 Filed: 04/26/19 Page 14 of 17 PageID #:52
Case: 1:18-cv-07263 Document #: 10 Filed: 04/26/19 Page 15 of 17 PageID #:53
Case: 1:18-cv-07263 Document #: 10 Filed: 04/26/19 Page 16 of 17 PageID #:54
Case: 1:18-cv-07263 Document #: 10 Filed: 04/26/19 Page 17 of 17 PageID #:55
